Case 2:04-cv-02771-BBD-dkv Document 146 Filed 08/16/05 Page 1 of 6 Page|D 185

mm ev_.. -l_n__n.c

IN TI-[E UNITED STATES DISTRICT COUR _
FOR TI-IE WESTERN DISTRICT OF TENNESS hug l 8 FH lz l 3

WESTERN DIVISION W‘WS hill GSULD

ln re COPPER TUBING LITIGATION w L(l-)SF YW'E,T‘HMIS

 

Master File No. 04-277l-DV

 

AMERICAN COPPER & BRASS, INC. and THE

BANKRUPT ESTATE 0F sMITH AND WOFFORD
PLUMBING AND INDUSTMAL sUPPLY, INC. en HOnOrable Judge B€rnic@ B- Donald
behalf of themselves and all others similarly situated, Magistra¥e Judge Dian€ K' VCSCOVO

Plaintiff,

V.

BOLIDEN AB, BOLIDEN FABRICATION AB,
BOLIDEN CUIVRE & ZINC S.A., HALCOR S.A.,
HME NEDERLAND BV, IMI KYNOCH LTD.,
YORKSHIRE COPPER TUBE LTD, KM EUROPA
METAL AG, K.ME AMERICA INC.,
TREFIMETAUX SA, EUROPA METALLI SPA,
MUELLER INDUSTRIES, INC., WTC HOLDING
COMPANY, INC., MUELLER EUROPE LTD,
DENO HOLDING COMPANY, INC.,
OUTOKUMPU OYJ, OUTOKUMPU COPPER
PRODUCTS OY, OUTOKUMPU COPPER (U.S.A.),
INC., WIELAND WERKE AG, VVIELAND
METALS, INC., AUSTRIA BUNTMETALL AG, and
BUNTMETALL AMSTE'ITEN GMBH,

Defendant.

 

 

l ORDER GRANTING AGREED MOTION OF DEFENDANT
BUNTMETALL AMSTETTEN GMBH FOR ADDITIONAL TIME

IN WHICH TO ANSWER, MOVE OR OTHERWISE RESPOND
The Court having considered the Motion of Defendant Buntmetall Amstetten GmbH
(“Buntmetall Amstetten,” or the “Moving Defendant”) for Additional Tirne in Which to Answer,

Move or Otherwise Respond to plaintiffs’ Consolidated Amended Class Action Complaint (the

“Complaint”) and finding it to be well taken,

Thls document entered on the docket sheet in compliance
with Flule 58 and/or 79(a) FRGP on "

Case 2:04-cv-02771-BBD-dkv Document 146 Filed 08/16/05 Page 2 of 6 Page|D 186

IT IS I-IEREBY ORDERED THAT the Motion of the Moving Defendant for Additional
Tirne in Which to Answer, Move or Otherwise Respond is granted The Moving Defendant’s

time to answer, move or otherwise respond to the Cornplaint is extended to and including

September 14, 2005.

MW_ \¢</. ZM,W

Magistrate Judge Diane K. Vescovo

/@‘“’ QH|?M
ENTERED TI-IIS day of , 2005

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 146 in
case 2:04-CV-02771 Was distributed by faX, rnail, or direct printing on
August 18, 2005 to the parties listed.

éssEE

 

J. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Sameer Nitanand Advani

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave

NeW York7 NY 10019

William M. Audet

ALEXANDER HAWES & AUDET LLP
152 North Third Street

Ste. 600

San Jose, CA 95112

Kevin M. Kearney
HODGSON RUSS LLP
One 1\/1 & T Plaza

Ste 2000

Buffalo, NY 14203

Daniel C. Oliverio
HODGSON RUSS7 LLP
One 1\/1 & T Plaza

Ste 2000

Buffalo, NY 14203

John 1. Houseal

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

David R. Esquivel

BASS BERRY & SIMS PLC
315 Deaderick Street

Ste. 2700

Nashville, TN 37238--000

Case 2:04-cv-02771-BBD-dkv Document 146 Filed 08/16/05 Page 4 of 6 Page|D 188

Paul A. AleXis

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street, Suite 700

P.O. Box 340025

Nashville, TN

Ranelle A. Leier

OPPENHEIMER WOLFF & DONNELLY
3300 Plaza VH Bldg

45 S. Seventh St.

1\/linneapolis7 MN 55402--160

Jerome A. Broadhurst

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Colin J. Carnahan

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street, Suite 700

P.O. Box 340025

Nashville, TN 37203

Kelly M. Hnatt

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

Colin J. Carnahan

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street, Suite 700

P.O. Box 340025

Nashville, TN

Richard N. LaFlamme
LAFLAMME & MAULDIN, P.C.
2540 Spring Arbor Road

Jackson7 1\/11 49203

Paul Kent Bramlett
BRAMLETT LAW OFFICES
P.O. Box 150734

Nashville, TN 37215--073

Mary lane Fait

WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLC- Chicago
55 W. Monroe St.

Ste. 11 11

Chicago, IL 60603

Case 2:04-cv-02771-BBD-dkv Document 146 Filed 08/16/05 Page 5 of 6 Page|D 189

Paul A. AleXis

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street, Suite 700

Nashville, TN 37203

Seema Tendolkar

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue ofAmericas

NeW York7 NY 10019

Moses Silverman

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue of the Americas

NeW York7 NY 10019

Scott S. Rose

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave

NeW York7 NY 10019

Aidan Synnott

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue of the Americas

NeW York7 NY 10019

William H. Rooney

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

Robert L. Crawford

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Alexandra H. Russello

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

Mark S. Olson

OPPENHEIMER WOLFF & DONNELLY
3400 Plaza VH

45 S. Seventh St.

1\/linneapolis7 MN 55402--160

B. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Case 2:04-cv-02771-BBD-dkv Document 146 Filed 08/16/05 Page 6 of 6 Page|D 190

J ames R. NeWsom

HARRIS SHELTON HANOVER WALSH7 PLLC.
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103--255

Matthew 1. Bachrack

CLEARY, GOTTLIEB, STEEN & HAMILTON
2000 Pennsylvannia Ave. N.W. Suite 9000
Washington, DC 20006--180

David I. Gelfand

CLEARY GOTTLIEB STEEN & HAMILTON LLP
2000 Pennsylvania Ave., N.W.

Washington, DC 20006--180

Honorable Bernice Donald
US DISTRICT COURT

